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                        Exhibit B

       REDACTED VERSION OF
      DOCUMENT SOUGHT TO BE
             SEALED




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           TINDER

                                                        INFORMATION REQUESTS
             Dates of availability 2012 to present.

           Distribution channels      ●   iOS App Store
                                      ●   Google Play Store
                                      ●   Huawei App Gallery
                                      ●   Samsung Galaxy App Store
                                      ●   Xiaomi Mi Store
                                      ●   Oppo Store

             Operating systems        ●   iOS
                                      ●   Android
                                      ●   Web-based

                   Monetization The Tinder app is free to download on both iOS and Android devices. Tinder offers a free, ad-supported
                                service as well as three paid tiers that unlock additional features and functionality for users. The three
                                paid tiers are:
                                    ● Tinder Plus
                                    ● Tinder Gold
                                    ● Tinder Platinum

            Monthly active users
             (AVG US December
                           2020)




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